

People v Arias (2021 NY Slip Op 01863)





People v Arias


2021 NY Slip Op 01863


Decided on March 25, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 25, 2021

Before: Renwick, J.P., Mazzarelli, Singh, González, JJ. 


Ind No. 1925/16 Appeal No. 13421 Case No. 2018-1202 

[*1]The People of the State of New York, Respondent, 
vJesus Arias, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Desiree Sheridan of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Patricia Curran of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Laura A. Ward, J.), rendered May 01, 2017,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 25, 2021
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








